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              Case 2:06-cr-00002-RCJ-GWF          Document 603       Filed 03/10/11   Page 1 of 1
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!            6 UNITED STATES OF AM ERICA,                        )
I                                                                )       2:06-CR-002-RCJ-GW F
1            7   Fxlëlirltiff,                                   )
E                                                                )
E            8 v.                                                )       ORDER FOR DISMISSAL
i                                                                )
1            9 OMAR RICHARDSON,                                  )
                                                                 )
I           10        Defendant.                                 )
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!                                Forgood cause show n,and upon Ieave ofCourt,the United States
:           12
i                 AttorneyfortheDistrictofNevada herebydismisseswithoutprejudice the allegations
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            l3
!                 broughtagainstdefendantOMAR R1CHARDSON,which are contained in the Petition
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!          ' l4 fOrSum m ons forO cenderUnderSupeN ision issued On OraboutJanuary 14,2011.
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:           18                                           United states Aqorney
E           19                                           /s/Kisberl
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I                                                        KIMBERL.Y M.FRAYN
i           20                                           AssistantUnitedStatesAttorney
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E                                LeaveofCoudisgrantedforthefilijgoftheforegoingdismissal,
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